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                         T]MTED STATES DISTRICT COURT                  ocT 3 t   zusfitt\
                     FOR TIIE NORTI{ERN DISTRICT OF'ILLINOIS
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JASON GOODMAN,
      Plaintifl                             tlop,w6E   $*t{rafttrq {r-
      v.                                   CIVILNO.   1:19 -   cv -05787

ANDREW SAUL, COMMISSIONER, SSA
THOMAS ENGLISH, ALJ
SCOTT KARGOL, DIRECTOR                    fltb*r74ffiet
GEORGE FRANJEVIC, GS                           Qa6@-'A,FtNf4
      Defendant(s)




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  a   Item 13 (Complaint)                                                          'u   sh
  a   Exhibits (U 5pgs.)
  a
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After successful completion of a different temporary-internship SSA assignment working for the
a different office within the Agency, Chicago Regional SSA headquarters (Ex. F & G witness
letters), I was hired as an SCT at the Chicago ODAR hearing office in September 2014 for the
Pre/Post Development group along with the 9 other new hire SCTs for - Group A by Director
Scott Kargol and was assigned to supervisor's GS Paulas, who later left the agency several
months after I was hired. My new supervisor, GS Janusaitis, took GS Paulas's place and lastly
GS Scott Richard became my supervisor after Janusaitis retired. Every tenured employee and
new hire answered to, was assigned to and was responsible for work under a single Group
Supervisor in the Chicago ODAR hearing office which consisted of a single group supervisor in
charge over Groups A, B, C, D. respectively (Ex. Q ODAR roster).

I answered to and was assigned training and duties under Group A; GS Paulas, GS Janusatis and
GS Richard group supervisors during my hire date to wrongful removal at the ODAR hearing
office and my assigned supervisors regularly communicated with me, approved my benefit/leave
time request and assigned me trainings, duties and Group A's volunteering. During orientation
in October 2014, Director Kargol also requested I temporarily assist in the Scheduling Group C
until management was to be able to acquire more pennanent new hires for that department under
Group C supervisor, GS Franjevic. He assured me the assistance was merely temporary and I
would only be assisting Group C until my assigned Group A's formal new hire training began
which programs and modules consisted of sporadic, broken and delayed process from Sep-Oct
2014 through Feb 2015.

Director Kargol caused me great stress and emotional harm because he never informed me GS
Franjevic would ultimately be the supervisor responsible for rating my performance during
assisting Group C's backlogged workloads & duties, despite excellent performance and meeting
standards as a whole and under my assigned supervisor's in Group A. Right away from October
2014 through wrongful federal separation, GS Franjevic began assigning me an unachievable
amount of scheduling duties despite none to minimal OJT, no formal scheduling training,
unfairly holding me responsible to dishonest and negative evaluations that would undermine my
effort and performance, and ultimately be used underhandedly terminate my employment. I
spoke with Director Kargol about these concerns and Director Kargol continued to assure me
that due to Group C being understaffed, an extensive case backlog and the govemment shutdown
we need you to continue to help out Group C until their new hires come aboard and to continue
doing a good job. I told him that I was not comfortable under Franjevic and that I wanted to go
back to my sole responsibilities no different than from my fellow team member SCT new hires in
Group A. Director Kargol dismisses my complaints and requests.

Out of the 9 total new hire SCTs I was the only new hire SCT that was receiving wholly
disproportionate workloads from two Group Supervisors A and C from two wholly different
departments work groups and was the only Group A SCT assisting Group C. This continued to
cause me great stress and I felt overwhelmed and mistreated unfairly by Kargol and Franjevic
                                                                          ooThey
against workplace regulations and policies. GS Franjevic comment to me,          needed you
here" and introduced Lead Case Technician Adams as my assigned Group C mentor to teach me
the other databases utilized and missions different from Group A and to walk me through how to


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complete tasks to assist in helping Group C's backlog mitigation. However, just days into
assisting in Group C, I was warned by Group C team members at two different times,
individually pulling me aside. Tenured Group C employees LCT Adams and Case Technician
Allison cautioned me to beware of GS Franjevic because of his harassing and trying to terminate
male black new hires, these conversations made me very uneasy and caused me stress & anxiety
at the outset.

From hire date; September 2014 to July 2015, while assigned under my supervisors GS Paulas,
Janusatis and Richard, I was required to attend Group A's orientation, side by side's, informal
new hire trainings and also in February 2015, attending 6 hours/daily of lecture in Group A's
NHT new hire formal web-based training. In addition, I had to complete up to 2 hours of
assigned Group A computer-based training exercises along with my other Group A new hires.
Right away subjecting me to an umealistic misuse of power, GS Franjevic began to hold me
responsible for tasks no other employee would reasonably have enough time to complete.

The subjugation inflicted upon me an extremely high level of stress and depression because no
other Group A or Group C new hire or tenured employee was tasked with directives from two
different supervisors. The abuse and misuse of power from Director Kargol and GS Franjevic
was too much work as within weeks he was now falsely and egregiously monitoring, evaluating
and holding me responsible for tasks such as EFT's, inputs and digital CD burns that I had not
yet been trained on to assist in his short-staffed Group C. Simultaneously, In the Scheduling
group, Group C, I received no formal training and was assigned an increased ALJ scheduling
caseload unparalleled to my level of experience and had not received the scheduling group,
Group C training as other tenured scheduling employees in that department as, no other new
hires was assisting in Group C and I felt discriminated against (Ex. O & P job descriptions).
Group C's GS Franjevic averred that all employees in the scheduling unit were responsible for
the same duties and held to the same perfoflnance standards. I knew this statement was in direct
contradiction to the standards expected of me. I was very distraught that Director Kargol and GS
Franjevic encouraged me to be the only Pre/Post employee and Scheduling employee required to
complete NHT formal training, computer-based modules and duties of Pre/Post group, Group A
as well as an increased workload with no formal training of Scheduling Group C. It is important
to clarify, I only received formal training for the Pre/Post group A through my assigned
supervisors GS's Paulas and later GS Janusatis. I did not receive formal training for the
Scheduling group I was requested to temporarily assist in, in Group C as falsely claimed by GS
Franjevic.

From Sept 2014- July 2015 while working in my assigned Pre/Post group, Group A under GS
Paulas, later GS Janusaitis, then GS Richard my responsibilities included orientation, NHT
training and exercises approx. 8hrs/day, CD Burn for Hearing, Case Pulling, Queries,
Interrogatories, Case Closing, Hearing Monitoring, Court Reporting, Front Desk Reception, Pre-
hearing Conferences and various other duties too numerous to list (Ex. O & P). GS Franjevic
accused me of spending too much time completing my assigned Group A volunteer duties and
not spending enough time getting my Group C scheduling work done. Tenured Group C
scheduler, CT Allison, took it upon himself to assist me in tackling some of the tasks GS


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Franjevic unfairly assigned me when he had extra time. I told him I couldn't manage working in
Group C any longer and he informed me even he, as a seasoned Group C tenured employee, it
would be impossible to complete the amount of work I was unfairly being responsible for by
Franjevic. GS Franjevic only gave out directives and never taught me a task or provided
database navigation or coaching. GS Franjevic would only inform me whenever I had a question
to, 'oget with LCT Adams, she's your mentor if you required assistance". LCT Adams was
responsible for her own workloads, trainings & duties and could not fully nor adequately mentor,
train or coach me during OJT, particularly so with Group C's more complicated time-sensitive
processes and painstaking ALJ scheduling tasks. Group C OJT development Franjevic allotment
to me during my employment was often postponed, sporadic and broken, however, GS Franjevic
continued to unethically fabricate an unsatisfactory performance pattern in violation of my
rights, privileges and equitable treatment under policies and regulations.

Director Kargol expressed an open-door policy where I participated in numerous sit-downs by
walk-in but also along with Group A team members whereby, I clearly expressed; I could no
longer handle GS Franjevic's treatment and workload. Director Kargol never addressed my
complaints and only urged me to keep up the good work and I would no longer be required to
assist Group C once the scheduling new hires came aboard after the govemment shutdown. At
this time, unlike my fellow Group A team members, I have yet to receive my transit vouchers
and HSPD access card. Kargol deceptively and maliciously never assigns post govemment
shutdown new hire employees to Group C under Franjevic instead, places new hires Joseph
Kilroy, Jacqueline Titus & Cassandra Shedwell, Sue McGregor in the SCT slots and further
misleads me by slotting me under Group C, giving the false impression I had a consistent
workload as all other employees (Ex. Q). Kargol never allowed me retum to focusing only on
my assigned duties SCT Group A duties as my new hire colleagues.

While assisting in Scheduling group, Group C under GS Franjevic, my required duties included
Buming CDs for Medical and Vocational Experts; Scheduling MEs and VEs; Invoicing Experts;
Reviewing and Analyzing Cases; Exhibiting Case Records; Contacting Claimants, Attorneys and
Representatives; Scheduling Aged, Dire Need and Jail Cases; Scheduling Pre-Conference
Hearings; Transferring Cases; among a host of other duties too numerous to list. In the
Scheduling group, employee CT job description, it states all newly hired incumbents will
perform in a trainee capacity, with assignments leading to being able to perform the full range of
duties. Franjevic disparately held me to an unfair standard and responsible to infractions that
were not accurate.

Approximately April 2015, GS Franjevic inappropriately and falsely charged, that he had over
two score conversations with me and continued to hold me to a performance standard no
employee could attain. GS Franjevic informs me that he would be taking over as my new
supervisor and that t would be assigned to his Group C but, I would still be responsible for my
Group A duties. I informed Director Kargol that GS Franjevic's harassment and mistreatment
was too much, causing too much stress and responsibility and continuing to accuse me of not
following directives and not completing tasks that I in no way could complete within a work day.



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This caused me to work on credit and inadvertently remained after hours because of the
exorbitant work directive pressures from Kargol and Franjevic.

GS Franjevic can say he did not believe I required reasonable accommodation because
                                                                                    in the
process tf-.    addressing the issue, he shewed me away with an unwelcomed and highly
inappropriate scoff exclaiming, "I don't know what's wrong with you, that is above
                                                                                   my pay
grud.,,,lailing to allow me to state my case or supply medical documentation. GS Franjevic
ihreatened that in order to receive "satisfactory job performarce" rating, it was mandatory
                                                                                            that I
complete all PrelPost Group A formal, informal and OJT training and duties while
simultaneously completing all his assigned Group C duties which consisted of an unmanageable
caseload in the Scheduling group, Group C. It is important to reiterate, GS Franjevic, himself
averred that all employees in the scheduling unit were responsible for the same duties and
                                                                                           held to
the same performance standards, violating the new-hire job expectations policy. I was the only
pre/post Group A employee and Scheduling Group C employee given the false obligation to
perform the full range of duties of both work groups under two different supervisors, while
working in the capacity of a trainee where I received no formal training for Scheduling group,
Group C. Director Kargol and GS Franjevic committed disability discrimination by failing to
acknowledge or provide reasonable accommodation requests, by failing to provide requested
workload assistance and more schedule flexibility for Group C workloads. Furthermore, in April
21ls,Franjevic removed me from Group A and permanently assigned me to Group C despite my
ongoing complaints to Kargol that I could no longer manage assisting Group C. Kargol allowed
Franjevic to hijack my Group A's evaluation and assessments in effort to influence unfair
appraisals and unethical assessments of my performance.

Early Marchz}ls,due Franjevic's unfair treatment and infliction of emotional distress at the
workplace, I was admitted by my mental health doctor's requests to remain at Hines VA hospital
for one week due to being overworked by Kargol and Franjevic aggravating my mental
conditions, paranoia and caused me psychotic stress episodes (Ex. R plaintiff medical). GS
Franjevic scolds me, against my employee protections, privileges and rights, that he had to
reassign my work while I was hospitalizedupon my return to Chicago ODAR office causing
immediate additional stress and belifilement unrelated to managements false claim, I merely
suffered from HBP. I never nor do I have any documented diagnosis of HBP (Ex. R). GS
Franjevic also told me that I could not do anything right and that other employees were doing my
work for me causing me additional stress, attempting to shame and guilt me due to my
hospitalization. Any reasonable person would affirm this degree of toxicity is highly
inappropriate of any agency supervisor toward any similarly situated employee.

April 2015, GS Franjevic began to facilitate wrongful termination record based upon a fabricated
"unsatisfactory" perfounance appraisal where he claims I received no rating. During a meeting
with Director Kargol, I again requested to return to the PrelPost group under my Group A
supervisor with my fellow SCT new hires. Director Kargol fail to acknowledge my pleadings
and hardships, placating my job performance and told me I was still needed in the Scheduling
group under Franjevic. May 2015, I received Certificate of Appreciate in recognition of public
service from Director Kargol (Ex. L HOCALJ appreciation award). GS Franjevic violated the


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PACS appraisal system by not providing progressive counseling and training for alleged poor
work perfonnance. CT Allison pulled me aside in tears out of concem for how I was being
treated (Ex. A colleague reference letter).

June 2015, after administering a verbally manipulated "Unsatisfactory" PACS performance
meeting that Franjevic used to falsely justifu my separation, Franjevic texted me a highly
offensive and unwelcomed text to my personal cellphone; displaying a cat in a boxing ring with
the text o'bring it on" creating a hostile work environment. He again falsely alleges I appreciated
the communication when in truth, I felt demoralized and bullied by the communication (Ex. N
Franjevic hostile text message).

Oct2014 to March 2015I completed the ongoing mission critical 'work directive' of scheduling
Aged Cases, however, Franjevic averred I had failed and continue to add more cases and tasks to
my workloads, fortifying an unattainable and unreasonable goal of successful completion of his
assigned objectives. Franjevic assigned me an ALJ caseload approx. 300 claimants which was
unreasonable and unachievable for even a tenured employee and stated he would use and abuse
me up in scheduling meetings before I was to no longer responsible with assisting Group C.
From

October 2015 - April 2015, I notified Kargol of Franjevic's harassment, intimidation, unfair
evaluation, workload and training. April 2015, Kargol's repeatedly unaddressed my complaints
and dodged my complaints of harassment exclaiming, Franjevic fault finds and nitpicks you and
fails to recognize your positive contributions and he was to put up with him too. Kargol failed to
investigate my ongoing complaints, verbal reports and reasonable accommodation requests prior
to my wrongful termination.

October 2014 - June 2015, on top of the all the adverse actions committed against plaintiff,
Franjevic continued made harassing and inappropriate comments regarding bible verses posted
in my work cubicle which caused me distress. Franjevic intimidatingly stated "Do you expect
those verses to help you?" and'oThe Lord doesn't have my back; I'm already living in hell" I felt
challenged, confronted and disrespected by his abuse of positional power against me.

Dec2014 - May 2015,I submitted complex eBP; eView, CPMS, DGS and DART databases and
Telework ideas in line with SSA's Vision 2025 initiative to improve upon the Agency's service
to the public that were recognized by SSA headquarters where I was conferenced called from
SSA HQ in Baltimore, MD by David Grandy and Joanne Schulman for job well done.
Furthermore, I was informed my submissions would not go unrecognized in effort to advance
more effective and efficient outcomes of SSA mission objectives. In my contributing to
innovative strategies to better serve the public, June 2015 ALJ English mischaracterizes
management describing plaintiff spent too much time on idea submissions which contributed to
not focusing on my workloads. Inasmuch, the drafting of my recognized ideas was largely
implemented using on my own personal time outside of work and break times. June 2015
Kargol and Franjevic unfairly placed me on paid administrative leave prior to termination and
coldly consoles me he would give any new employment I pursued a positive recommendation.
Kargol also states I can no longer return to the Chicago ODAR office and my belongings would


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be mailed to me. I never received all my personal effects, documents and confiscating plaintiff s
workload data. Kargol and Franjevic even lacked the audacity to issue the wrongful termination
themselves, instead while away on vacation, tasked ALJ English who had only been
                                                                                    in an Acting
HOCALJ capacity for weeks with the Agency.

I was the only employee out of the 9 new hire SCTs in the Chicago ODAR office since hire date
to face wrongful removal, to never be issued HSPD card credentials and transit subsidy vouchers
supporting a clear pretext that Kargol and Franjevic conspired to unethically scheme SSA
                                                                                         agency
poti.y, procedures and regulations and misused and abused their offices against me, subjecting
plaintiff to a vehemently discriminatory and hostile work environment.

As a result of these traumatic events I've suffered, I continue to experience worsened severe
mental and emotional distress and undue financial hardships and compromise of quality of life. I
have required undergoing pyscho-social recovery counseling and ongoing treatment as a result
                                                                                                    of
the disrespect, mistreatment and libel in that workplace, where at times hearing voices and
causation ofsuicidal thoughts due to the unfair, unethical and continuously unaddressed
treatment. I still this day suffer from that experience that increased the severity of my mental
heatth conditions, causing anxiety, emotional anguish and stress due to the adverse actions taken
by the Agency, English, Kargol and Franjevic (Ex. M, R & S plaintiff med, personal & work
e.g.). Defendants continue to affect hardship and stress as, plaintiff lacks sufficient quarters for
SSA disability benefits, subsequent to the timely filing of this civil action, Agency urges me to
file for benefits (Ex. U pl-3 SSA, IRS and tax burden corr.). Defendants precipitated an
exacerbated Federal and State 2015 tax liability I am still to this day liable for (Ex. R pl1, U p4-
 5). I am yet marred with this wrongful federal termination with forced neglect of any credit or
 award in my Vision 2025 contribution efforts (Ex. M, R pl1). The attached exhibits in this
 description compiled from previous and subsequent employers, witness statements and support
 to corroborate my true character, work ethic and performance (Ex. A-L, S & T personal witness
 letters). These workplace harms should have never been suffered by plaintiff and must be
 prohibited from occurring again in the agency. Plaintiff respectfully demand remedies to make
 plaintiff whole in accordance with item 16(0, (g) & (h) of his complaint as; Defendants
 egregiously violated Title VII, Whistleblower Protections Act, Retaliation, Reprisal,
 Rehabilitation Act of l973lADA and Agency Regulations of Permanent and Seasonal
 Employees against me including but not limited to; a. SSA Commissioner Equal Opportunity
 policy, b. Policy Prohibiting Discrimination Against Employees and Applicants for Employment

c. Policy Maintaining a Non-Hostile Workplace Free of Discrimination Harassment

d. Policy on the Prevention and Elimination of Harassment in the Workplace

e. SSA/AFGE Article 3, Employee Rights

f. SSA/AFGE Article 21, Performance
 g. SSA/AFGE Article 23, Disciplinary and Adverse Actions

h. SSA/AFGE Article 33, Temporary, Probationary, Part-Time


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Attached to this complaint reference ltem7.2 (a), (b) & (c) is plaintifPs June 2019, OFO
decision on request for reconsideration docket #2019002413 where defendant defaulted defense
of this matter at exhaustion of process.




                                                                         922 North Blvd #401

                                                                          Oak Park, IL 60301

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Social Security
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                                       Administration                                    9y't+T$r u
Retirement, Survivors and Disability Insurance
Important           Information                                                                                         =
                                                                                       Social Security Administration   =
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                                                                                       Baltimore, MD 2123 5 -7 7 1 I
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  3678 1 MB 0.425

              JASON L GOODMAN
              922 NORTH BLVD APT 401
              OAK PARK             IL 6030I.1242




Our records indicate that you may be entitled to Medicare or monthly Retirement benefits on
your own Social Security claim number.

What You Need to Do

You must file an application before we can pay you benefits or start your Medicare coverage.
You should apply right away if you want these benefits.

You can file your application online, by phone, or at any Social Security office.

Why You Should Complete Your Application Online

Applying for Retirement benefits online is secure, quick, and easy. For yotr i,:nvenience, you
can apply at www.socialsecurity.gov on the Internet.

    .     We make sure the information you send through our website is confidential.
    .     Applying online saves time.
    o     You can apply now. You do not have to wait for an appointment with a Social Security
          office.

Other Ways to Appty

If you do not want to apply online, you can apply by phone. Please call i-800-772-1213 (TTY
number, 1-800-325-0778) between 7 a.m. andT p.m., Monday through Friday.

You can also apply at a Social Security office. Please call first to make an appointment. This
will reduce your wait.




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                                               Your payment would be about
                                                           $11226 a month
                                                                                     at   full retirement    age




Jason L. Goodman                                                                                    June 2,2019




         Your Social Security Statement
Yow Social Security Statement tells you about how much you or your family would receive in disability,
survivor, or retirement benefits. It also includes our record of your lifetime earnings. Check out your earnings
history, and let us know right away if you find an error. This is important because we base your benefits on
our record of your lifetime eamings.

Social Security benefits are not intended to be your only source of income when you retire. On average,
Social Security will replace about 40 percent of your annual pre-retirement earnings. You will need other
savings, investments, pensions, or retirement accounts to make sure you have enough money to live
comfortably when you retire.




                                                                   Social Security Administration




 Follow the Social Security Administration at these social media sites.                                  yOU@
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                                                                                                              exwp€rr                            fi5q
Your Estimated Benefits
*Retirement       You have earned enough credits to qualiff for benefits. At your current eamings rate, if you continue
                  working until...
                 your fulI retirement age (67 years), your payment would be about.............             .'....'..'....".. $ 1,226 amonth
                 age 70, your payment would be about.......,.....                                           .......,.....,... $ 1,595 a month
                 age 62,  your  payment  would   be about.............                                      ..........'...... $    779 amofih
*Disability       To get benefits ifyou become disabled right now, you need 23 credits ofwork, and 20 ofthese
                  credits had to be earned in the last l0 years. Your record shows you do not have enough credits in
                  the right time period.
*Family           Ifyou get retirement or disability benefits, your spouse and children also may qualiff for benefits.
*Survivors        You have earned enough credits for your family to receive survivors benefits. If you die this year,
                  certain members of your family may qualify for the following benefits:
                                                                                                                                   697 a month
                  Your spouse who is caring for your child......                                             ....'............ $   697 a month
                  Your spouse, if benefits start at full retirement age...............                                         $   930 a month
                  Total family benefits cannot be more than..,...                                                              $ 1,395 a month
                 Your spouse or minor child may be eligible for a special one-time death benefit of $255.
Medicare          You have enough credits to qualiff for Medicare at age 65. Even if you do not retire at age 65, be
                  sure to contact Social Securiry three months before your 65th birthday to enroll in Medicare.
                 * Your estimated benefits are based on current law, Congress has made changes to the law in the past and
                   can do so at any time. The law governing benelit amounts may change because, by 2035, the payroll taxes
                  collected   will be enough to pay only about   80 percent of scheduled benefits.

                We based your benefit estimates on these facts:
                 Your date of birth (please verifr your name on page 1 and this date of birth).........                         August 2,1974
                 Your estimated taxable eamings per year after 2019......                                                              $30,667
                 Your Social Security number (only the last four digits are shown to help prevent identity theft)...........    xxx-xx-ss18

How Your Benefits Are Estimated
To qualify for benefits, you earn "credits" through your work       up          (3) Your estimated benefits are based on current law. The law
to four each year. This year, for example, you eam one credit for
                                                                 -                  governing benefit amounts may change.
each $1,360 of wages or self-employment income. When you've                     (4) Your benefit amount may be affected by military service,
earned $5,440, you've eamed your four credits for the year. Most                    railroad employment or pensions earned through
people need 40 credits, eamed over their working lifetime, to                       work on which you did not pay Social Security tax.
receive retirement benefits. For disability and survivors benefits,                 Visit ppw.sacialsecurily.gov to leam more.
young people need fewer credits to be eligible.
   We checked your records to see whether you have eamed                      Windfall Elimination Provision (WEP)           If you receive a
enough credits to qualiff for benefits. Ifyou haven't earned enough
                                                                                                                        -
                                                                              pension from employment in which you did not pay Social Security
yet to qualify for any type of benefit, we can't give you a benefit           taxes and you also qualifiT for your own Social Security retirement
estimate now. If you continue to work, we'll give you an estimate             or disability benefit, your Social Security benefit may be reduced,
when you do qualiff.                                                          but not eliminated, by WEP. The amount of the reduction, if any,
What we assumed          If you have enough work credits, we                  depends on your earnings and number ofyears injobs in which you
                     - amounts using your average eamings over
estimated your benefit                                                        paid Social Security taxes, and the year you are age 62 or become
your working lifetime. For 2019 and later (up to retirement age),             disabled. To estimate WEP's effect on your Social Security benefit,
we assumed you'll continue to work and make about the s.Ime as                visit www,so cials ecurity.gou/llEP-CHARL FoT workers newly
you did :ri 2017 or 2018. We also included credits we assumed you             eligible in 2019, the maximum monthly reduction in PIA is $463.
eamed last year and this year.                                                For more information, please see llindfall Elimination Provision
                                                                              (Publication No. 05 - I 0045) at www,s o cials e curity. g ov/WE P.
    Generally, the older you are and the closer you are to retirement,
the more accurate the retirement estimates will be because they are           Government Pension Offset (GPO)             If you receive a pension
                                                                                                                      -
                                                                              based on federal, state or local govemment work in which you did
based on a longer work history with fewer uncertainties such as
earnings fluctuations and future law changes' We encourage you                not pay Social Security taxes and you quali$', now or in the future,
to use our online Retirement Estimator to obtain immediate and                for Social Security benefits as a current or former spouse, widow
personalized benefit estimates.                                               or widower, you are likely to be affected by GPO. If GPO applies,
                                                                              your Social Security benefit will be reduced by an amount equal to
    We can't provide your actual benefit amount until you apply for
                                                                              two-thirds of your government pension, and could be reduced to
benefits. And that amount may differ from the estimates above
                                                                              zero. Even if your benefit is reduced to zero, you will be eligible
because:
                                                                              for Medicare at age 65 on your spouse's record' To leam more,
 (1) Your eamings may increase or decrease in the future.
                                                                              please see Government Pension Offset (Publication No. 05-10007)
 (2) After you start receiving benefits, they will be adjusted for
                                                                              at www. s o cials e cu rity. gov/G P O.
      cost-ofJiving increases.



                                                                                                          lcMxl
                  Case: 1:19-cv-05787 Document #: 21 Filed: 10/31/19 Page 12 of 14 PageID #:272
'2019 Tax Amnesty Program                                                                                   6n'so u#"Mrririuig
Notice of Elisibilitv of Gertain Debt
                                                                                                                                                                                    DEPARTMENTOF REITET{UK
                                                                                                                                                                                                      tax.illinois.gov
                                                                                                                                                                                    $$


                                                                                                                                   September 13,2019
                                                                                                                                   I   ffillfi il il1il l]il tffit ilil ilt ilt ilil          ililt   l]il   ]] ll]
                   JASON L. GOODMAN                                                                                                    Letter lD: 11040096304
                   1247 CLINTON AVE APT 1E
                   BERWYN tL 60402-1024                                                                                                Taxpayer lD:      XXX-XX-5518
                                                                                                                                       Reporting period: December 2015
                                                                                                                                       Return type:      lL-1040
                                                                                                                                       Project:                                      CP2NF




                        Pay eligible tax debt October I ,2019, through November 15,2019,
                           and the eligible penalty and interest charges will bewaived.
lllinois Department of Revenue records show that you have an outstanding lllinois lndividual lncome Tax liability that qualifies for the 2019
lllinois Tax Amnesty program

        What debt qualifies?
        Eligible tax debt is for tax periods ending after June 30, 201 1 , and pior to July 1 , 2018. lf you failed to file a tax retum or
        incorrectly repofied the liability due on a previously filed return for these tax periods, now is the time to make conections and pay
        the tax. lf you agree with the amount shown due on the enclosed EDA-131 ,Examinef s Report, you may pay the liability in full and
        no additional tax returns or documents are required.

        tf youdo not agree, you may make conections, sign and retum the enclosed Form EDA-131 , Examinels Report, or file Form
        lL-1040-X, Amended lndividual lncome Tax Retum. You must also include any required documentation and payment of the liability
        shown on the retum.

lf the eligible tax debt is paid in full between October 1,2019, and November {5, 2019, eligible penalty and interest will be
waived! Payments received before October 1,2019 and after November 15,2019, do not qualify for amnesty.

Warning! lf you do not pay your eligible tax debt in full, penalty and interest charges will not be waived.

For more information on the 2019 lllinois Tax Amnesty program, visit our website at tax.illinois.gov. lf you have questions about your
account, please call us weekdays from 8:00 a.m. to 4:00 p.m. at 217 782-7962.
                                                                                                                   FOf infOfmatiOn          ab'Ut
Note: lf you are under bankruptcy protection, see the bankruptcy information                                              .     Howto pay
section on the back of this notice for more information.                                                                  .     What to file
                                    -   Postmark must be between October 1, 2019, and November 15,2019                                              -             |DoR-99FSEU (R-08/19)

,...P.-gpe8.qq.
                     Cut on dotted line and detach. Retain top portion for your records and return bottom portion with your payment.

 FSEU                                        (N-07/1e)     (137)



 Letter lD: 11040096304
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                                                                                                 Total amount due: $1,164.00
 JASON L. GOODMAN
                                                                                                Write the amount you are paying below.
 Mail this voucher and your payment to:
 FEDERAL STATE EXCHANGE UNIT
 ILLINOIS DEPARTMENT OF REVENUE                                                                  Write your Taxpayer lD on your check.
 PO BOX 19026
 SPRI NGFI ELD IL 627 94-9026


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                                 Case: 1:19-cv-05787 Document #: 21 Filed: 10/31/19 Page 13 of 14 PageID #:272
                                                                                                                                                           ffiffiffiFffiffiI|
                                                                                                                    E1*rntr vrr "€r;ll
                                    Department of the Treasury

         ffii                       lnternal Revenue Service
                                    Kansas City,              M0 64999-0030
                                                                                                                                                    Tax Year
                                                                                                                                                    Notice date
                                                                                                                                                                            2015
                                                                                                                                                                            July 23, 2018
         IPS                                                                                                                                        Social Securitv number 350-60'5518
                                                                                                                                                    To comact us            Phone 1-800-829-0922
                                                                                                                                                    Your Caller lD          200274
                                   009085.728149.346873 ,13207 2 AB 0.408 1490
                                                                                                                                                    Page 1 of 6
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                                                                                                      '   "'



                                  JASON GOODMAN
                                   ,I247
                                                   CLINTON AVE APT                 1E
)09085                             BERWYN rL 60402-1024




         Second reminder: You have unpaid taxes for 2015

         Amount due: $1,766.85

         As we notified you before, our records show you                                                       Billing Summary
         have unpaid taxes for the tax year ended
         December 31, 20'l                           5   (Form 10404). lf you don't                            Amount              owed                                                      $   1,734.20
         pay $1,766,85 byAugust                                 2,2018, the amount                             Failure-to-pay pena lty                                                              15.94
         of interest will increase and additional penalties                                                    lnterest charqes                                                                     16.7 r
         may apply.                                                                                            Amount due by August 2,2018                                                  $1,766.85
         lf you already have an installment or payment
         agreement in place for this tax year, then
         continue with that agreement,




                                                                                                                                                                                   Continued on back...




         ffi
                                                                                                               AS0N r,000t,rAN
                                                                                                               1247 Cr.rNroN AW    An rt
                                                                                                                                                     Notice date             )uly 23, 2018
                                                                                                               BERVVYN   fl.60,{02.I021
                                                                                                                                                     Social Security number 350-60'551 8
         IRS
                                                                                                               e Make your check or money order payable to the United States Treasury'
         IIII        ffiffiffiffiffiffiII                                                               ilI    o Write your Social Security number (XXX-XX-XXXX), the tax year (2015), and
                                                                                                                  number (10404) on your payment and any conespondence,
                                                                                                                                                                                                 the form


         Payment
                                                                                                               Amount due by
                                                                                                                                                                                      $1,755.85
                                                                                                               August 2,2018


                INTERNAL REVENUE SERVICE
                KANSAS CITY, MO 64999.0202
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I-arrEt-
                                   CERFITICATE OF SERVICE


I, the undersigned, hereby certify that I served the foregoing document(s) to the parties indicated
below by means indicated below on the date of signature below:




              The General Counsel                                   By: Clerk of the Court via
              Social Security Administration                            CM/ECF
              Room 617, Altmeyer Building
              6401 Security Blvd
              Baltimore, MD 2123 5 -6401




                                                                      "fst[,
                                         Blvd #401, Oak Park, IL 60301
                              708.435.0404 (phone)
                                  8(?aol.som (email)
                              .I5 5 I
